     Case 1:16-cr-00123-DAD-BAM Document 88 Filed 08/16/18 Page 1 of 2


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 4
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 5   RANDY SEJA
 6

 7                                    UNITED STATES DISTRICT COURT

 8                         FOR THE EASTERN DISTRICT OF CALIFORNIA

 9

10    UNITED STATES OF AMERICA,                        Case No. 1:16-cr-00123-DAD-BAM-2
11                       Plaintiff,                    STIPULATION AND ORDER TO
                                                       CONTINUE HEARING
12           v.
13    RANDY SEJA,
14                       Defendant.
15

16          IT IS HEREBY STIPULATED by and between the parties hereto through their respective

17   counsel, RICHARD A. BESHWATE, JR. attorney for Defendant RANDY SEJA, and KIMBERLY

18   SANCHEZ, Assistant U.S. Attorney for Plaintiff, that the hearing currently scheduled for August

19   22, 2018, at 10:00 a.m., shall be calendared for SEPTEMBER 24, 2018, at 10:00 a.m. for

20   sentencing.

21          Mr. Seja is requesting a short continuance of the sentencing hearing because he needs to

22   address family issues prior to being sentenced. Counsel needs additional time to prepare and file a

23   sentencing memorandum. Assistant United States Attorney Kimberly Sanchez has no objection to

24   the continuance.

25          The parties stipulate that the time until the next hearing should be excluded from the

26   calculation of time under the Speedy Trial Act. The parties stipulate that the ends of justice are

27   served by the court excluding such time, so that counsel for the defendant may have reasonable

28   time necessary for effective preparation, taking into account the exercise of due diligence. 18
                                                      1
     Case 1:16-cr-00123-DAD-BAM Document 88 Filed 08/16/18 Page 2 of 2


 1   U.S.C. §3161(h)(7)(B)(iv). The parties stipulate and agree that the interests of justice are served

 2   by granting this continuance outweigh the best interests of the public and the defendant in a speedy

 3   trial. 18 U.S.C. §3161(h)(7)(A).

 4          Dated: August 16, 2018                 Respectfully submitted,

 5
                                                   /s/ RICHARD A. BESHWATE, JR.
 6                                                 RICHARD A. BESHWATE, JR.
 7                                                 Attorney for Defendant,
                                                   RANDY SEJA
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 9
            Dated: August 16, 2018                 Respectfully submitted,
10

11                                                 /s/ Kimberly Sanchez
                                                   KIMBERLY SANCHEZ
12                                                 Assistant U.S. Attorney
13

14                                                ORDER
15          The court has reviewed and considered the stipulation of the parties to continue the
16   sentencing hearing in this case. Good cause appearing, the hearing as to the above-named
17   defendant currently set for August 22, 2018, at 10:00 a.m., is vacated and the sentencing hearing
18   will be heard on September 24, 2018, at 10:00 a.m. in Judge Drozd’s courtroom. Although the
19   Speedy Trial Act does not apply to sentencing, the court will pursuant to the parties’ stipulation
20   nonetheless exclude the time period between August 22, 2018 and September 24, 2018 under the
21   Speedy Trial Act pursuant to 18 U.S.C. § 3161(h)(7)(A) and (B)(i) and (iv), as the ends of justice
22   served by granting the continuance outweigh the best interest of the public and the defendant in a
23   speedy trial.
24   IT IS SO ORDERED.
25
        Dated:       August 16, 2018
26                                                     UNITED STATES DISTRICT JUDGE
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